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                                    United States Bankruptcy Court
                                         Western District of Louisiana

                                                 Case No.: 17−50706
                                                    Chapter: 11
                                                Judge: John W. Kolwe

In Re:
   Cochon Properties, LLC                                    Morrison Well Services, LLC
    (debtor has no known aliases)                             (debtor has no known aliases)
   16285 Park Ten Place                                      16285 Park Ten Place
   Suite 120                                                 Suite 120
   Houston, TX 77084                                         Houston, TX 77084

Social Security No.:

Employer's Tax I.D. No.:
  45−4111694                                                 37−1749531


                                                   FINAL DECREE




     The court having found that the estate of the above named debtor(s) or debtor(s) in possession has been fully
administered in accordance with the procedures required by Rule 3022, Fed. R. Bankr. P.;

       IT IS ORDERED THAT the trustee in this case is discharged; that unless there is a blanket bond herein, the
trustee's surety is hereby discharged; that regardless of whether the trustee's bond herein is a case bond or a blanket
bond, the surety is relieved of any liability for the actions or inactions of the trustee that may be incurred after the
termination of its suretyship, but is not relieved of any liability for the actions or inactions of the trustee incurred
during its suretyship; and that this case be and the same is hereby closed pursuant to 11 U.S.C., Section 350.

Dated: 11/19/18
                                                             /s/John W. Kolwe
                                                             U.S. Bankruptcy Court Judge




        17-50706 - #82 File 11/19/18 Enter 11/19/18 14:03:09 Final Decree Ch 11 Pg 1 of 1
